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Pom CSW 5:26 AM
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IN [e) ce Things change
Sareea | am not running again nor any longer
5 yd oy Fe) | really do not care what others think. It means little other than family and close friends

Tele) ohalely | have people such as Jimmy to give me advice
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| will embrace those who come back to bch
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